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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                            NeTvport News Division


 PROGRESSIVE NORTHERN INSURANCE
 COMPANY,


              Plaintiff,

  V.                                                      Civil No. 4:22cvl3


 M&J AUTO CENTER LLC, d/b/a M&J
  CAR SOLUTIONS, MARLON HARVEY,
 DARRIN ROBINSON, CHARLES BRIAN
 DIGGS, Administrator of the
 Estate of Hailey Diggs,
 Decedent, TIDEWATER AUTOMOBILE
  ASSOCIATION OF VIRGINIA, INC.,
 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY, and SDHUNT,
 LLC, d/b/a M&J CAR SOLUTIONS
 AND BATTERIES,


              Defendants.




                              OPINION AND ORDER


       This   matter is    before   the   Court on    a   motion for   summary

 judgment filed by plaintiff Progressive Northern Insurance Company

 ("Plaintiff").       ECF No. 92.     After careful consideration of the

 briefs submitted by the parties, the Court deteinnines that a

 hearing is unnecessary because the facts and legal contentions are

 adequately presented, and oral argument would not aid in the

 decisional process.       Fed. R. Civ. P. 78(b); E.D. Va. Loc. R. 7(J).

  For the   reasons    discussed    below,   the   Court GRANTS Plaintiff's

  motion for summary judgment.       ECF No. 92.
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